Case 5:10-cv-01686-EEF-MLH Document 9 Filed 11/18/10 Page 1 of 7 PageID #: 105



                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                SHREVEPORT DIVISION


WUELLNER OIL & GAS, INC.,                         CIVIL ACTION NO. 10-1686
MARSHALL OIL & GAS, INC.,
TEXAS GAS DEVELOPMENT, L.P.,
AND JARRATT ENTERPRISES, L.L.C.

VERSUS                                            JUDGE FOOTE

ENCANA OIL & GAS (USA) INC.                       MAGISTRATE HORNSBY


                                       ANSWER

       NOW INTO COURT, through undersigned counsel, comes defendant ENCANA

OIL & GAS (USA) INC., which, answering the original petition filed by plaintiffs Wuellner

Oil & Gas, Inc., Marshall Oil & Gas, Inc., Texas Gas Development, L.P., and Jarratt

Enterprises, L.L.C., with respect, represents:

                                             1.

       The allegations of paragraph 1 of plaintiffs’ original petition are denied, except to

admit that Wuellner Oil & Gas, Inc., Marshall Oil & Gas, Inc., Texas Gas Development,

L.P., and Jarratt Enterprises, L.L.C, are made plaintiffs herein.

                                             2.

       The allegations of paragraph 2 of plaintiffs’ original petition are denied, except to

admit that EnCana Oil & Gas (USA) Inc. is made defendant herein.

                                             3.

       The allegations of paragraph 3 of plaintiffs’ original petition are denied, except to

admit that the plaintiffs assert rights and interest in and to immovable property located in
Case 5:10-cv-01686-EEF-MLH Document 9 Filed 11/18/10 Page 2 of 7 PageID #: 106



Red River Parish, Louisiana.

                                              4.

       The allegations of paragraph 4 of plaintiffs’ original petition are denied, except to

admit that “Exhibit A” (the Gahagan Letter Agreement) to the plaintiffs’ original petition is

the best evidence of its contents.

                                              5.

       The allegations of paragraph 5 of plaintiffs’ original petition are denied, except to

admit that “Exhibit B” (the Martin Letter Agreement) to the plaintiffs’ original petition is

the best evidence of its contents.

                                              6.

       The allegations of paragraph 6 of plaintiffs’ original petition are denied, except to

admit that the documents attached in globo as “Exhibit C” (the Will Drill Resources (“Will

Drill”)/Marshall-Wuellner, Inc. (“MWI”) Assignments) to the plaintiffs’ original petition are

the best evidence of their contents.

                                              7.

       The allegations of paragraph 7 of plaintiffs’ original petition are denied, except to

admit that “Exhibit A” (the Gahagan Letter Agreement) and “Exhibit B” (the Martin Letter

Agreement) to the plaintiffs’ original petition are the best evidence of their contents.

                                              8.

       The allegations of paragraph 8 of plaintiffs’ original petition are denied, except to

admit that the “Exhibit D” (the Will Drill/Pride Oil & Gas Properties, Inc. (“Pride Oil”)

Assignment) to the plaintiffs’ original petition is the best evidence of its contents.




                                             -2-
Case 5:10-cv-01686-EEF-MLH Document 9 Filed 11/18/10 Page 3 of 7 PageID #: 107



                                                 9.

       The allegations of paragraph 9 of plaintiffs’ original petition are denied, except to

admit that the “Exhibit D” (the Will Drill/Pride Oil Assignment) to the plaintiffs’ original

petition is the best evidence of its contents.

                                             10.

       The allegations of paragraph 10 of plaintiffs’ original petition are denied, except

to admit that the “Exhibit D” (the Will Drill/Pride Assignment) to the plaintiffs’ original

petition is the best evidence of its contents.

                                             11.

       The allegations of paragraph 11 of plaintiffs’ original petition are denied, except

to admit that the documents attached in globo as “Exhibit E” (the MWI/Plaintiffs

Assignments) to the plaintiffs’ original petition are the best evidence of their contents.

                                             12.

       The allegations of paragraph 12 of plaintiffs’ original petition are denied, except

to admit that the documents attached in globo as “Exhibit E” (the MWI/Plaintiffs

Assignments) to the plaintiffs’ original petition are the best evidence of their contents.

                                             13.

       The allegations of paragraph 13 of plaintiffs’ original petition are denied, except

to admit that the “Exhibit F” (the Will Drill ORRI Assignment) to the plaintiffs’ original

petition is the best evidence of its contents.

                                             14.

       The allegations of paragraph 14 of plaintiffs’ original petition are denied, except

to admit that “Exhibit G” (the Pride Oil/EnCana Oil & Gas (USA) Inc. Assignment) to the



                                            -3-
Case 5:10-cv-01686-EEF-MLH Document 9 Filed 11/18/10 Page 4 of 7 PageID #: 108



plaintiffs’ original petition is the best evidence of its contents.

                                               15.

       The allegations of paragraph 15 of plaintiffs’ original petition are denied, except

to admit that the exhibits to the plaintiffs’ original petition are the best evidence of their

contents.

                                               16.

       The allegations of paragraph 16 of plaintiffs’ original petition are denied.

                                               17.

       The allegations of paragraph 17 of plaintiffs’ original petition are denied, except

to admit that the “Exhibit H” (the May 27, 2009 MWI Letter) to the plaintiffs’ original

petition is the best evidence of its contents.

                                               18.

       The allegations of paragraph 18 of plaintiffs’ original petition are denied, except

to admit that the “Exhibit I” (the June 16, 2009 EnCana Letter) to the plaintiffs’ original

petition is the best evidence of its contents.

                                               19.

       The allegations of paragraph 19 of plaintiffs’ original petition are denied, except

to admit that more than four months have elapsed since June 19, 2009.

                                               20.

       The allegations of paragraph 20 of plaintiffs’ original petition are denied, except

to admit that the “Exhibit J” (the October 7, 2009 MWI Letter) to the plaintiffs’ original

petition is the best evidence of its contents.




                                              -4-
Case 5:10-cv-01686-EEF-MLH Document 9 Filed 11/18/10 Page 5 of 7 PageID #: 109



                                               21.

        The allegations of paragraph 21 of plaintiffs’ original petition are denied for lack

of specific information to justify a belief therein.

                                             22(A).

        The allegations of paragraph 22(A) of plaintiffs’ original petition are denied.

                                             22(B).

        The allegations of paragraph 22(B) of plaintiffs’ original petition are denied.

        AND NOW, further answering the plaintiffs’ original petition, appearer represents:

                                      FIRST DEFENSE

        The original petition fails to state a claim upon which relief can be granted.

                                     SECOND DEFENSE

        Appear did not assume or have the intent to assume Will Drill’s obligations under

any letter or other agreements with MWI or the plaintiffs.

                                      THIRD DEFENSE

        Appearer has paid any and all overriding royalties due and payable by it to the

plaintiffs.

                                     FOURTH DEFENSE

        The plaintiffs’ claims are prescribed in whole or in part.

                                       FIFTH DEFENSE

        Appearer has partially assigned the subject mineral leases to a third party for

which appearer is not responsible; consequently, plaintiffs’ recovery, if any, against

Appearer should be reduced accordingly.




                                              -5-
Case 5:10-cv-01686-EEF-MLH Document 9 Filed 11/18/10 Page 6 of 7 PageID #: 110



       WHEREFORE, APPEARER PRAYS that the above and foregoing answer to

plaintiffs= original petition be deemed good and sufficient and that, after due proceedings

be had, there be judgment herein dismissing plaintiffs= claims at their sole cost and for

all general and equitable relief.



                                             COOK, YANCEY, KING & GALLOWAY
                                             A Professional Law Corporation


                                             By: s/ John T. Kalmbach______
                                                Herschel E. Richard, Jr. #11229
                                                John T. Kalmbach #24484

                                             333 Texas Street, Suite 1700
                                             P. O. Box 22260
                                             Shreveport, LA 71120-2260
                                             Telephone: (318) 221-6277
                                             Telecopier: (318) 227-7850
                                             herschel.richard@cookyancey.com
                                             john.kalmbach@cookyancey.com

                                             ATTORNEYS FOR ENCANA OIL
                                             & GAS (USA) INC.




                                           -6-
Case 5:10-cv-01686-EEF-MLH Document 9 Filed 11/18/10 Page 7 of 7 PageID #: 111




                                      CERTIFICATE

       I HEREBY CERTIFY that a copy of the above and foregoing was filed with the

United States District Court for the Western District of Louisiana by electronic case

filing/case management and that a copy of the same was either served on all counsel of

record by electronic notification or by U.S. Mail, postage pre-paid.

       Shreveport, Louisiana, this 18th day of November, 2010.


                                                         s/John T. Kalmbach
                                                            OF COUNSEL




                                            -7-
